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                                IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO

NORMA CARDOZA ESTREMERA and CANDIDA
PEREZ ROBLES, on their behalf and on behalf of all the
participants of the Pension Plan for the Employees of the      CIVIL NO. 16-2318
Catholic School of the Archdiocese of San Juan

Plaintiffs
 vs.
  COLEGIO PADRE BERRIOS, ACADEMIA SAN
JOSE, PENSION PLAN FOR THE CATHOLIC SCHOOL
OF THE ARCHDIOCESE OF SAN JUAN, BOARD OF
TRUSTEES FOR PENSION PLAN FOR THE CATHOLIC
SCHOOL OF THE ARCHDIOCESE OF SAN JUAN,
MARILYN PANELL and ANA CORTES CRESPO as
administrators, WILFRED L. THORNTHWAITE, as
actuary for the Plan and THORNTHWAITE & CO, as
actuarial firm and INSURANCE COMPANIES A, B &C.

Defendants

                         MOTION SUBMITTING SUMMON EXECUTED

           COME NOW, the plaintiffs through the undersigned attorney and respectfully state

  and pray as follows:

           Plaintiffs return to the clerk office this summon executed on August 30, 2017 with

  copy of the complaint to Defendant Padre Berrios through the person of Giovanni Berrios

  Ortiz.

           WHEREFORE, plaintiffs return this summon executed in compliance with court order

  of August 11,2017 (Docket 65) .

                                CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY: that on this same date, October 11, 2016, I electronically
           filed the foregoing with the Clerk of the Court using the CM/ECF system, which will
           automatically send notification of such filing to all CM/ECF participants: Jose O. Ramos-
           Gonzalez rgtolaw@gmail.com, Jesus R. Rabell-Mendez jrabell@prtc.net,

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jaime.sanabria@icloud.com, jsanabria@littler.com, Robert Millán,
Mi3183180@aol.com,

      In San Juan, Puerto Rico, on August 31, 2017.


                                                 S/ Luis Vivaldi Oliver
                                                 Luis Vivaldi Oliver
                                                 U.S.D.C.P.R 214413
                                                 Attorney for Plaintiffs
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